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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                  Plaintiff,
11                                                           Case No. CR01-101L
             v.
12
                                                             ORDER DENYING MOTION FOR
      JOHN PETRUS, et al.,                                   WAIVER OF SUBSISTENCE
13                                                           PAYMENTS
                    Defendants.
14

15          This matter comes before the Court on Defendant John Petrus’s motion for an order waiving

16   subsistence payments to the Pioneer Fellowship House and/or the Federal Bureau of Prisons (Dkt. #

17   1146). Upon consideration of the arguments presented in support of the motion, IT IS HEREBY

18   ORDERED that defendant’s motion is DENIED.

19

20          DATED this 27th day of February, 2006.

21

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23
                                                        A
                                                        Robert S. Lasnik
                                                        United States District Judge
24

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26
      ORDER DENYING MOTION FOR
27    WAIVER OF SUBSISTENCE
      PAYMENTS
28
